                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 PLANNED PARENTHOOD SOUTH                     )
 ATLANTIC, et al.,                            )
                                              )
                      Plaintiffs,             )
                                              ) Case No. 1:23-cv-00480-CCE-LPA
 v.                                           )
                                              )
 JOSHUA STEIN, et al.,                        )
                                              )
                      Defendants.

              [PROPOSED] ORDER GRANTING PLAINTIFFS’
           UNOPPOSED MOTION TO EXCEED WORD LIMITATION

       Before the Court is Plaintiffs’ Unopposed Motion to Exceed Word Limitation,

seeking a 2,250-word extension of the 6,250-word limit for briefs prescribed by Local Rule

7.3(d)(1). Having demonstrated good cause for the motion, it is hereby ORDERED that

Plaintiffs’ Motion to Exceed the Word Limitation prescribed in Local Rule 7.3(d)(1) by

2,250 words is GRANTED.




                                                The Honorable Catherine C. Eagles
                                                United States District Judge

                                                Dated: June ____, 2023




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